                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



 STATE OF NEW YORK, et al.,

                Plaintiffs,

        v.                                                Case No. 1:25-cv-00196-MRD-PAS

 ROBERT F. KENNEDY, JR., in his official
 capacity as SECRETARY OF THE U.S.
 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES, et al.,



                Defendants.


                          DECLARATION OF MOLLY BRACHFELD

       Pursuant to 28 U.S.C. § 1746, I, Molly Brachfeld, do hereby state:

       1.      I am an Assistant Attorney General in the Office of the Attorney General for the

State of New York, and I appear on behalf of the State of New York in this action and am a

member in good standing of the bar of the State of New York.

       2.      I am admitted to appear in this action in the United States District Court for the

District of Rhode Island pursuant to this Court’s Text Order from May 6, 2025.

       3.      I submit this Declaration and its attached Exhibits in further support of Plaintiff

States’ Motion for a Preliminary Injunction.

       4.      I make the following statements on the basis of my own knowledge or a review of

files in my possession.

       5.      On May 14, Secretary Kennedy testified before Congress. Among other things,

his testimony concerned the restructuring and reductions in force at the center of this lawsuit.


                                                 1
Senate HELP Committee, Senate HELP Hearing: FY 2026 Department of Health and Human

Services Budget, YouTube (May 14, 2025), https://www.youtube.com/watch?v=do7L8jUvZoo.

Under questioning, Secretary Kennedy stated:

        I understand that if you look at this from a distance you’d say: “Why don't you just
        do this surgically and cut one person at a time?” This agency has grown so big so
        fast and everybody who comes in says “I'm going to cut it down.” and nobody’s
        been able to do it and there, there was an understanding that the longer that you
        wait the more the inertia kicks in.

        And we had to act quickly so that we could do something for the American people
        that is lasting. And we understood that there would be some mistakes made and that
        we would go back and reverse them when they were made. But it was more
        important to do decisive action quickly that could eliminate the metastasizing of
        this agency, which was growing, and growing, growing as our health declined.

Id. at 2:24:48.

        6.        Secretary Kennedy also testified that HHS made “a couple of mistakes,” id. at

2:24:38. He stated that the cuts that terminated the World Trade Center Health Program “should

not have been made,” id. at 2:24:05, and testified that he “d[id]n’t know” that the National

Firefighter Registry for Cancer had been shut down, 2:26:15. When asked about why these

programs were cut, Secretary Kennedy responded: “[i]t was part of the overall budget cuts. Our

agency was asked to make very, very serious budget cuts that were going to be painful.” Id. at

2:23:35. And when asked by Senator Murkowski why domestic violence funding from HHS was

not being received by grantees, he responded:

        Sen. Murkowski: It may be that with the RIFs you don’t have people that are
        processing these things.

        Secretary Kennedy: That could be.

Id. at 1:14:36.




                                                  2
       7.     For the ease of the Court and the parties, I have begun numbering the exhibits to

my declaration at Exhibit 66 because the May 9, 2025 Declaration of Andres Ivan Navedo

(Navedo Declaration) attached Plaintiffs’ Exhibits 1-65. ECF No. 44.

       8.     Attached as Exhibit 66 is a true and accurate copy of the Declaration of Annick

Benson-Scott, HIV/STD/TB Section Manager for the Center for Public Health Practice, Public

Health Division of the Oregon Health Authority.

       9.     Attached as Exhibit 67 is a true and accurate copy of the Declaration of Dr. Maria

Guadalupe Jaime-Mileham, Deputy Director of the California Department of Social Services,

Child Care and Development Division.

       10.    Attached as Exhibit 68 is a true and accurate copy of the Supplemental

Declaration of John Doe 2, an employee at the National Institute for Occupational Safety and

Health (NIOSH). This is a supplemental declaration by the same pseudonymous declarant who

submitted the Declaration of John Doe 2, Exhibit 47 to the Navedo Declaration, ECF No. 44-47.

       11.    Attached as Exhibit 69 is a true and accurate copy of the Declaration of Jane

Doe 3, a former employee of the Division of Reproductive Health (DRH) in the Centers for

Disease Control and Prevention (CDC).

       12.    Attached as Exhibit 70 is a true and accurate copy of the Declaration of Jane

Doe 4, an employee of the Office of Smoking and Health (OSH) in CDC.

       13.    Attached as Exhibit 71 is a true and accurate copy of the Declaration of Jane

Doe 5, an employee of the Division of STD Prevention in CDC.

       14.    Attached as Exhibit 72 is a true and accurate copy of the Declaration of Jane

Doe 6, a former employee of the Division of Data and Technical Analysis within the Office of

the Assistance Secretary for Planning and Evaluation (ASPE).



                                               3
         15.     Attached as Exhibit 73 is a true and accurate copy of the Declaration of John

Doe 7, an employee of the Center for Tobacco Products (CTP) within the Food & Drug

Administration (FDA).

         16.     Attached as Exhibit 74 is a true and accurate copy of the Declaration of Gordon

Sloss, Program Manager of the California Tobacco Prevention Program at the California

Department of Public Health.

         17.     Attached as Exhibit 75 is a true and accurate copy of the Declaration of Eli

Rosenberg attaching thereto Exhibits A-C. Mr. Rosenberg’s declaration was attached as

Exhibit 25 to the Navedo Declaration, ECF No. 44-25, but Exhibits A-C were omitted in error.

         18.     Attached as Exhibit 76 is a true and accurate copy of Colorado v. Kennedy, No.

1:25-CV-00121 (D.R.I. May 16, 2025), ECF No. 84.

         19.     Attached as Exhibit 77 is a true and accurate copy of a news article by Eric Katz,

CDC to cut one employee for each it is recalling from layoffs (May 14, 2025),

https://www.govexec.com/workforce/2025/05/CDC-cut-one-employee-each-it-recalling-

layoffs/405336/.

         20.     Plaintiffs’ Motion for a Preliminary Injunction erroneously stated that “[t]he

March 27 Directive proposed to move the entire ASPE to the new ‘Administration for a Healthy

America,’” ECF No. 43 at 21, but, in fact, the March 27 Directive proposed to move the entire

ASPE to the new “Office of Strategy,” see Ex. 1 (March 27 Directive), ECF No. 44-1.

Dated:         New York, New York
               May 19, 2025

                                               /s/ Molly Brachfeld
                                               Molly Brachfeld
                                               Assistant Attorney General
                                               Office of the New York State Attorney General



                                                  4
